        Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 1 of 6

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          458(Rev,0W08)-Jrudgmenti
                                 naCriminalCase              -               **                -= -       -
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                                         U N IT E D ST A T E S D IST R IC T C O U R T
                                                        Southern D istrictofFlorida
                                                               FortPierce Division

     UN ITED STATE S O F AM ER IC A                                        JU D G M EN T IN A C R IM INA L C A SE
                                   V.
        SCO TT JO SEPH TR AD ER                                            CaseNumber:17-14047-CR-M lDDLEBROO KS
                                                                           U SM N um ber:16118-104

                                                                           CounselForDefendant:FletcherPeacock
                                                                           CounselForTheUnited States:M artonGyires
                                                                           CourtReporter:D ianeM iller
Thedefendantpleaded guiltytocountts)OnethroughFive.
Thedefendantisadjudicatedguiltyoftheseoffenses:
T                                                                                                             O FFEN SE
     ITLE & SECTION                           NATURE OF OFFENSE                                               ENDED              CO UNT

18U.S.C.j2422*)                               Enticementofaminortoenyagein sexualactivity.            -
                                                                                                              05/31/2017         1
18U.S.C.                                     (Distributionofmaterialcontainingvisualdepictionsof05/30/2017 2
 j2252(a)(2)?(b)(1)                          1
                                             ,sexualexploitationofminors
i18U.S.C,                                    Ipossessionofmattercontainingvisualdepictionsof                  06o jyaijp         ?
i
t
-
 j2252(a)(4)(B),(b)(2)                       isexualexploitationofminors
18                                            Production ofm aterialcontaining visualdepictionsof
      U.S.C.j2251(a),(e)                      SCXUa
                                                   jexpjoitationofminors                                      05/31/2017         4
18 U                                          Production ofm aterialcontainingvisualdepictionsof
l S.
.-
   C.j225l(a),(e)
       .

           .-   - -   - - -   .- - - .
                                              Sexua   jexpjoi
                                                            tationofminors
                                                             - -   -   -   - --   ,-     .,-   -              11/28/2015 5
                                                                                                                  - - .-   -


The defendantis sentenced as provided in the following pages ofthisjudgment.The sentence is imposed
pursuanttotheSentencingReform Actof1984.
Itis ordered that the defendant mustnotify the United States attorney forthis district within 30 days of any
change ofnam e,residence,orm ailing addressuntila11fines,restitution.costs,and specialassessm ents imposed
bythisjudgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnited States
attorney ofm aterialchangesin econom ic circum stances.




                                                                       D ate oflm       lo of Sentence;12/7/2017


                                                                            ,K                 ,


                                                                       D o d M .M iddlebrooks
                                                                       U nited States D istrictJudge


                                                                       Date:                   /z /s/zz
       Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 2 of 6

USDC FLSD 2458(Rev.09/08)-Juda entinaCriminalCase                                                   Paye2of6

DEFEN D AN T:SC O TT JO SEPH TR ADER
CA SE N UM BER :17-14047-CR -M lD DL EB R O O K S

                                            IM PR ISO N M ENT
The defendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm ofLIFE.This term consists ofLife asto CountOne,240 M onths as to each ofCountsTwo and
Three and 360 M onths as to each ofC ounts Four and Five,allto be served concurrently.
The courtm akesthe follow ing recom m endations to the Bureau ofPrisons:
         1. The D efendant participate in the Sex O ffender M anagem ent Program located in the B O P at
            M arianna,Florida.

         2. The Defendant be designated to a facility in or as vlose to Northern Florida (M arianna) as
             possible.
The defendantis rem anded to the custody ofthe U nited States M arshal.

                                                          R ETU R N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                  to

at                                                  ,withacertified copyofthisjudgment.




                                                             IX ITED STATESMARSHAL


                                                             D EPU TY UN ITED STA TES M A RSH A L
       Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 3 of 6

IJSDC PLSD 7458 (Rtv,09/08)-JudrnensinaCrimi
                                           nalCase                                                           Paat3of6

DEFENDANT:SCOTT JO SEPH TM DER
CA SE N U M BER :17-14047-CR -M 1D D LEBR O O K S

                                            SUPERVISED RELEASE
Upon release from im prisonm ent,the defendantshallbe on supervised release fora term of LIFE.This term consists of
Lifeasto each ofCountsO nethrough Five,to run concurrently.
The defendantm ustreportto the probation office in thedistrictto whichthe defendantisreleased within 72 hoursofrelease
from the custody ofthe Bureau ofPrisons.
Thedefendantshallnotcomm itanotherfederal,state orlocalcrime.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlaw fuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from imprisonm entand atleast
two periodicdrug teststhereafter,asdeterm ined by thecourt.
Thedefendantshallnotpossessa irearm ,am m unition,destructive device,or any otherdangerousweapon.
Thedefendantshallcooperate in thecollection ofDNA asdirected by the probation offcer.

lfthisjudgmentimposesafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment.
Thedefendantm ustcomply w ith the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson theattached page.
                                     ST AN DA R D CO N D ITIO N S O F SU PE RV ISIO N
    1.Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
   2.Thedefendantshallreportto theprobationofficerand shallsubmitatruthfuland completem ittenreportwithinthefirstfifteen
      daysofeachm onth;
   3.Thedefendantshallanswertruthfullyallinquiriesby theprobation officerand follow the instructionsoftheprobation officer;
   4.Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
   5.Thedefendantshallwork regularly atalawfuloccupation,unlessexcused bytheprobation officerforschooling,training,or
      otheracceptablereasons;
   6.Thedefendantshallnotifytheprobationofficeratleasttendayspriorto any changein residenceoremployment,     '
   7.Thedefendantshallrefrain from excessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministerany
      controlled substanceorany paraphernaliarelatedtoany controlledsubstances,exceptasprescribedby aphysician;
   8.Thedefendantshallnotfrequentplaceswhere controlled substancesareillegally sold,used,distributed,oradministered;
   9.Thedefendantshallnotassociatewithany personsengaged incriminalactivity and shallnotassociatewith anyperson convicted
      ofafelony,unlessgranted permissionto doso by theprobation oftscer;
   l0.Thedefendantshallpermitaprobationofficertovisithim orheratanytimeathomeorelsewhereand shallpermitconfiscation
      ofanycontrabandobserved in plain view oftheprobationofficer;
   1l.Thedefendantshallnotify theprobation officerwithinseventy-two hoursofbeingarrested orquestioned by alaw enforcement
     ofticer;
   12.
     Thedefendantshallnotenterinto any agreem enttoactasan informeroraspecialagentofa 1aw enforcem entagency withoutthe
     pennission ofthecourt;and
   l3.A sdirectedby theprobation officer,thedefendantshallnotify thirdpartiesofrisksthatmay beoccasionedbythedefendant's
     crim inalrecordorpersonalhistory orcharacteristicsandshallpermittheprobationofficerto m akesuchnotificationsandto
     confil'm thedefendant'scompliancewithsuch notification requirem ent.
      Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 4 of 6

IJSDC FLSI
         )2458 (Rev.09/08)-JudqmentinaCriminalCase                                              Paye4of6

DEFENDANT:SCOTT JOSEPH TRADER
CASE NUM BER:17-14047-CR-M IDDLEBROO KS

                                        SPEC IAL C O N D ITIO NS O F SU PE RV ISIO N

Adam W alsh ActSearch Condition -The defendantshallsubm itto theU.S.Probation Officerconducting
periodicunannounced searchesofthedefendant'sperson,property,house,residence,vehicles,papers,
computerts),Otherelectroniccommunicationordatastoragedevicesormedia,includeretrievaland copyingof
a11datafrom thecomputerts)andanyintemalorexternalperipheralsandeffectsatanytime,withorwithout
warrantby any 1aw enforcementorprobation officerwith reasonable suspicion concerningtmlawfulconductora
violation ofacondition ofprobation orsupervised release.Thesearch m ay includetheretrievaland copying of
alldatafrom thecomputerts)andanyintemalortxternalperipheralstoensurecompliancewith othersupervision
conditionsand/orrem ovalofsuch equipm entforthepurposeofconducting am orethorough inspection;andto
haveinstalledonthedefendant'scomputerts),atthedefendant'sexpense,anyhardwareorsoftwaresystemsto
m onitorthe defendant's com puteruse.
ComputerPossession Restriction -The defendantshallnotpossessoruseany computer;exceptthatthe
defendantm ay,with thepriorapprovaloftheCourt,use acomputerin connection with authorized employment.

DataEncryption Restriction -The defendantshallnotpossessoruseany data encryption technique orprogram .

EmployerComputerRestriction Disclosure -Thedefendantshallpermitthird party disclosuretoany employeror
potentialemployer,concem ing anycomputer-relatedrestrictionsthatareim posed upon thedefendant.

M entalHealth Treatment-The defendantshallparticipatein an approved inpatient/outpatientm entalhealth
treatmentprogram.Thedefendantwillcontributetothecostsofservicesrendered (co-payment)basedonability
topay oravailability ofthird partypaym ent.
No Contactwith M inors-Thedefendantshallhaveno personal,mail,telephone,orcomputercontactwith
children/minorsundertheageof18orwithanythevictim.TheCourtdoesnothaveanyobjectionifthevictim
wanted to bein contactwith the defendantbuthastobe attheinitiation ofthevictim.

No lnvolvem entin Youth Organizations-The defendantshallnotbe involved in any children'soryouth
organization.
Restricted from Possession ofSexualM aterials-The defendantshallnotbuy,sell,exchange,possess,trade,or
producevisualdepictionsofminorsoradultsengaged in sexually explicitconduct.Thedefendantshallnot
correspond orcomm unicatein person,bym ail,telephone,orcomputer,with individualsorcompaniesoffering to
buy,sell,trade,exchange,orproducevisualdepictionsofm inorsoradultsengaged in sexually explicitconduct.

Sex OffenderRegistration -Thedefendantshallcom ply with therequirementsofthe Sex OffenderRegistration
andNotifcationAct(42U.S.C.j16901,etseq.)asdirectedbytheprobationofficer,theBureau ofPrisons,or
any statesex offenderregistration agency in which heorsheresides,works,isastudent,orwasconvicted ofa
qualifyingoffense.
Sex OffenderTreatment-Thedefendantshallparticipatein asex offendertreatm entprogram to include
psychologicaltesting and polygraph exam ination.Participation may includeinpatient/outpatienttreatment,if
deemed necessary by the treatmentprovider.The defendantwillcontributeto thecostsofservicesrendered
 (co-payment)basedonabilitytopayoravailabilityofthirdpartypayment.
       Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 5 of 6

USDCFLSD 2468 (Rev.09/08)-JudamentinaCriminalCase                                            Paae5of6


DEFENDANT:SCOTT JOSEPH TR ADER
CASE NUM BER:17-14047-CR-M IDDLEBROO KS
                             CRIM INAL M ONETARY PENALTIES
Thedefendantmustpaythetotalcrim inalm onetary penaltiesunderthescheduleofpaymentson Sheet6.
                                Assessm ent                Fine              Restitution
          TOTALS                                $500.00           $0.00             $TBD
The determination ofrestitution isdeferred untilTBD .An Amended Judgm entin a CriminalCase(AO
245C)willbeentered aftersuch determination.
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H owever,
pursuantto18 U.S.C.j3664(1),aIInonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
g                                  '      '''
jNAMEOFPAYEE                                              L
                                                          TOS
                                                          ,
                                                           OTS
                                                             AL
                                                              w   opos
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                                                                                             OR
f                                                         j
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#Findingsforthe totalamountoflossesare required underChapters 109A ,110,1IOA,and 113A ofTitle 18 for
offensescomm itted on orafterSeptem ber13,1994,butbeforeApril23,1996.
##Assessm entdue imm ediately unlessotherwiseordered by theCourt.
       Case 2:17-cr-14047-DMM Document 40 Entered on FLSD Docket 12/08/2017 Page 6 of 6

USDC FLSD 2458 (Rev 09/
                      08)-JudgmtntinaCrimi
                                         nalCase                                                Paat6of6

DEFEN D AN T:SC O TT JO SEPH TR ADER
CASE NUM BER:17-14047-CR-M 1DDLEBRO OKS

                                      SCH EDULE OF PAYM ENTS
Having assessed the defendant's ability to pay, payment of the total criminal m onetary penalties is due as
follows:
A.Lum p sum paym entof$500.00 dueim m ediately.
Unlessthe courthasexpressly ordered othem ise,ifthisjudgmentimposesimprisonment,paymentofcriminal
monetary penalties is due during imprisonm ent.Al1crim inalmonetary penalties,exceptthose payments made
through the FederalBureau ofPrisons'Inm ate FinancialResponsibility Program , are m ade to the clerk of the
court.

The defendant shallreceive creditfor al1paym ents previously made toward any crim inal monetary penalties
imposed.
Thisassessment/fne/restitution ispayableto the CLERK , UNITED STATES COURTS and isto beaddressedto:
                                                     .




U.S.CLERK 'S OFFICE
ATTN :FIN A N CIAL SE CTIO N
400 N O RTH M IA M I AV EN UE ,R O O M 08N 09
M IAM I,FLORIDA 33128-7716
The assessm ent/fine/restitution is payable im m ediately.The U .S.Bureau ofPrisons,U.S.Probation Office and
theU.S.Attorney'sOftsceare responsiblefortheenforcem entofthisorder.

DefendantandCo-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
SeveralAm ount,and corresponding payee,ifappropriate.
CA SE N UM BER                                                                JO IN T A N D SEV ER AL
DEFEN DA N T A N D CO -D EFE ND A NT N A M ES              TO TA L A M O UN T A M O UN T
(INCLUDING DEFENDANT NUM BER)                              l

The defendantshallforfeitthe defendant's interestin the follow ing property to the U nited States:
Defendant's right,title and interestto the property identified in the plea agreem entand in the Prelim inary
Order of Forfeiture (D.E.25) which has been entered by the Court on October 20, 2017 and is
incorporated by reference herein,ishereby forfeited.


Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)finegrincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecutlon and courtcosts.
